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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


  JASON KESSLER, et al.,

                       Plaintiff,

  v.                                               Civil Action No. 3:18-cv-00107

  CITY OF CHARLOTTESVILLE, et al.,

                       Defendants.


                                     [PROPOSED] ORDER

         Upon consideration of Defendant Becky Crannis-Curl’s Motion to Dismiss Plaintiffs’

  Amended Complaint with prejudice, it is hereby

         ORDERED that Crannis-Curl’s Motion to Dismiss is GRANTED WITH PREJUDICE.

         IT IS SO ORDERED.




  Dated: ______________________                     __________________________________
                                                    Judge Norman K. Moon
                                                    Senior United States District Judge




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